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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 In re:

 KOLESZAR FARM LLC                                 :   CHAPTER 11
                                                   :
          Debtor.                                  :   BANKRUPTCY NO. 21-11653-amc


                    EXPEDITED MOTION FOR STAY PENDING APPEAL

          The Debtor/Appellant, Koleszar Farm LLC (“Koleszar”), hereby requests that this

 Honorable Court stay the November 4, 2021 Order annulling the automatic stay with respect to

 the Debtor/Appellant’s property located at 348 Pineville Road, Newtown, Upper Makefield

 Township, Pennsylvania 18940, pending the outcome of the Debtor/Appellant’s appeal to the

 United States District Court, and in support thereof respectfully avers as follows:

          1.   The Debtor commenced this bankruptcy proceeding by filing a voluntary petition

 under Chapter 11 of the Bankruptcy Code on June 11, 2021, to prevent the loss of

 Debtor/Appellant’s property located at 348 Pineville Road, Newtown, Upper Makefield

 Township, Pennsylvania 18940 (hereinafter “the Farm”), and to reorganize its financial affairs.

          2.   At the time the case was filed, there was an online Sheriff’s Sale scheduled on the

 Farm on which bids were to be accepted between 12:00 noon and 3:00 p.m., on June 11, 2021.

          3.   Despite filing this Chapter 11 case on June 11, 2021, at 11:10 a.m. and notifying

 both Wilmington Trust, National Association, not in its individual capacity, but solely as trustee

 for MFRA Trust 2014-2 (hereinafter “Wilmington Trust”), holder of a foreclosure judgment

 against the Farm, and the Sheriff of Bucks County, the Sheriff’s Office orally prior to 12:00

 noon, and both Wilmington Trust and the Sheriff’s Office by email at about 12:03 p.m., well
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 before the conclusion of the scheduled Sheriff’s Sale, Counsel for Wilmington Trust instructed

 the Sheriff to proceed with the Sheriff’s Sale, the Sheriff acted on Wilmington Trust’s

 instructions, and the Farm was “sold” to Wilmington Trust in clear violation of the automatic

 stay under §362 of the Bankruptcy Code.

         4.   On June 12, 2021, Koleszar filed an Application for the Appointment of Counsel,

 Regional Bankruptcy Center of Southeastern PA, P.C.

         5.   On or about June 24, 2021, Wilmington Trust filed a Motion for “Nunc Pro Tunc

 Relief from the Automatic Stay Under Section 362 Along with Co-Debtor Stay Relief or, in the

 Alternative, for Dismissal of the Bankruptcy Case” (hereinafter “the MFR”).

         6.   After preliminary hearings regarding both the appointment of counsel and the MFR,

 an amended application for the appointment of counsel was filed and the Court scheduled a

 specially listed, consolidated hearing on the amended application for appointment of counsel, the

 MFR, and a Motion for Dismissal of the case filed by the United States Trustee on November 4,

 2021.

         7.   Throughout the case leading up to the November 4, 2021 consolidated hearing,

 Koleszar tendered and Wilmington Trust’s servicer, Fay Servicing, LLC, accepted payment of

 the regular monthly mortgage payments in the amount of $6,866.20 (see copies of mortgage

 payments attached hereto and incorporated herein, collectively marked as Exhibit “A”)

         8.   At the November 4, 2021 consolidated hearing, the Court initially denied the

 application for appointment of counsel and then, without allowing Koleszar an opportunity to

 seek alternative counsel or allowing Koleszar, as a corporate entity, to participate in the hearing

 pro se, barred Koleszar from defending either the MFR or United States Trustee’s Motion to

 Dismiss, and without taking any evidence in the case entered, inter alia, the Order annulling the
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 automatic stay with respect to Koleszar’s property located at 348 Pineville Road, Newtown,

 Upper Makefield Township, Pennsylvania 18940 (“the Farm”) that is the subject of this Motion

 (see copy of November 4, 2021 Order annulling the automatic stay attached hereto and

 incorporated herein, marked as Exhibit “B”).

        9.    On November 18, 2021, Koleszar filed a timely appeal of all four Orders entered by

 the Court on November 4, 2021, including the Order annulling the automatic stay (see copy of

 Notice of Appeal attached hereto and incorporated herein, marked as Exhibit “C”).

       10.    On December 3, 2021, Koleszar filed Appellant’s Designation of Items to be

 Included in the Record on Appeal and Statement of Issues on Appeal (see copy attached hereto

 and incorporated herein, marked as Exhibit “D”).

       11.    The record has been transmitted to the United States District Court, but no briefing

 schedule has yet been established.

       12.    Each month after entry of the November 4, 2021 Order annulling the automatic stay,

 Koleszar has tendered and Wilmington Trust’s servicer, Fay Servicing, LLC, has accepted

 payment of the regular monthly mortgage payments in the amount of $6,866.20 (see copies of

 mortgage payments attached hereto and incorporated herein, collectively marked as Exhibit “E”).

       13.    Despite the pendency of the appeal, Koleszar’s tender of payments, and Fay

 Servicing, LLC’s acceptance of regular monthly mortgage payments, on or about December 17,

 2021, Wilmington Trust commenced an ejectment action in the Bucks County Court of Common

 Pleas, Wilmington Trust, National Association, not in its individual capacity, but solely as trustee

 for MFRA Trust 2014-2 vs. Koleszar Farm LLC, et al., Docket No. 2021-06618.

       14.    On or about February 23, 2022, a Writ of Possession for the Farm was issued by the

 Bucks County Prothonotary (see copy of Writ of Possession attached hereto and incorporated
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 herein, marked as Exhibit “F”).

       15.    Execution on the Writ of Possession is scheduled on April 22, 2022, commencing at

 9:00 a.m.

       16.    Prior to filing this Motion, appellate counsel for the Debtor/Appellant contacted

 counsel for both Wilmington Trust and the United States Trustee in accordance with Local

 Bankruptcy Rule 5070-1(g)(1) to determine if they would agree to a stay pending appeal, or if

 not, whether they had any conflicts with respect to scheduling an expedited hearing on this

 Motion.

       17.    Counsel for the U.S. Trustee first indicated that the U.S. Trustee would oppose the

 Motion, but later indicated that the U.S. Trustee may not take a position on the Motion

 depending upon whether the U.S. Trustee was a party to the particular November 4, 2021 Order

 with respect to which Debtor/Appellant seeks a stay pending appeal. Counsel has now indicated

 that the U.S. Trustee objects to the Motion, but in any event indicated that counsel had no

 conflict that would preclude participating in a hearing on April 21, 2022, or anytime prior to the

 scheduled execution on the Writ of Possession by the Sheriff of Bucks County.

       18,    Counsel for Wilmington Trust indicated that she would consult with her client, but

 could not consent to a stay at the time contacted, and also indicated that she would be available

 for a hearing anytime after 10:00 a.m. on April 21, 2022. In a further response, counsel indicated

 Wilmington Trust will oppose the Motion, but is still available for a telephonic hearing.


        WHEREFORE, the Debtor respectfully requests that this Honorable Court:

             a. Grant the Debtor/Appellant’s request for expedited consideration of this Motion

                for Stay Pending Appeal, either scheduling a telephonic hearing on April 21,
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            2022, or acting on the Motion based on the Motion and any responses without a

            hearing;

         b. Issue an Order substantially in the form of the Proposed Order attached to the

            Motion, staying the November 4, 2021 Order that annulled the automatic stay,

            thereby also staying any execution on the Writ of Possession issued by the

            Prothonotary of the Bucks County Court of Common Pleas with respect to the

            Debtor/Appellant’s property located at 348 Pineville Road, Newtown, Upper

            Makefield Township, Pennsylvania 18940, pending further Order of Court or a

            decision on the appeal by the United States District Court;

         c. Otherwise stay any dispossession of the Farm located at 348 Pineville Road,

            Newtown, Upper Makefield Township, Pennsylvania 18940;

         d. Condition the stay as suggested by the Debtor/Appellant in the Motion, or as the

            Court deems appropriate; and/or

         e. Grant such other relief as the Court may deem to be just and proper.

                                              Respectfully submitted,
                                              GIARAMITA LAW OFFICES, P.C., BY:



                                              ___________________________________
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